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                               UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA



SONY MUSIC ENTERTAINMENT, et al.,

         Plaintiffs,
                                                         Case No. 1:18-cv-00950-LO-JFA
v.

COX COMMUNICATIONS, INC., et al.,

         Defendants.




                       [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION
                           TO DISMISS DEFENDANTS’ COUNTERCLAIMS

            Before this Court is Plaintiffs’ Motion to Dismiss Defendants’ Counterclaims. After

     considering this Motion and the related filings, the Court is of the opinion that the Motion should

     be, and hereby is, GRANTED. Defendants’ Counterclaims, ECF No. 21, are dismissed.

            ENTERED this _____ of ________________, 2018

     Alexandria, Virginia                            ___________________________________
                                                     The Honorable Liam O’Grady
                                                     United States District Judge
                                                     Eastern District of Virginia
